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     SECUNDINO ESQUIBEL
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 7
 8                               IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                        Case No.: 2:15-CR-00164 TLN
11
                    Plaintiff,                        STIPULATION AND ORDER TO
12                                                    CONTINUE SENTENCING HEARING
            vs.                                       AND MODIFY PRE-SENTENCE REPORT
13                                                    DEADLINES
     SECUNDINO ESQUIBEL,
14                                                    Date: April 19, 2018
                    Defendant.                        Time: 9:30 a.m.
15                                                    Court: Hon. Troy L. Nunley
16
17          The parties to this action, Plaintiff United States of America by and through Assistant
18   U.S. Attorney Samuel Wong, and attorney Michael E Hingle on behalf of defendant Secundino
19   Esquibel, stipulate and submit this request to continue the dates presently set for judgment and
20   sentencing in the above – referenced matter from March 1, 2018 to April 19, 2018, at 9:30 A.M.
21   The defense needs additional time to conduct investigation and gather materials in support of its
22   sentencing requests as allowed under the express terms of the plea agreement.
23          The government does not oppose the request and the assigned probation officer is
24   available to appear on the requested dates. These dates are the same dates recently approved by
25   the Court as to co-defendant Moises Torres. It is therefore requested that the Court modify its
26   previously-set Pre-Sentence Report disclosure schedule as follows:
27          1. Draft Pre-Sentence Report Date: February 15, 2018;
28          2. Informal Objections to Draft Pre-Sentence Report: March 1, 2018;
                                                 1
     Order Continuing Sentencing Hearing and Modifying PSR Schedule.
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 1          3. Final Pre-Sentence Report Date: March 15, 2018;
 2          4. Motion for Correction Date: March 29, 2018, and
 3          5. Reply Date: April 12, 2018.
 4          This Request follows a guilty plea so an exclusion of time pursuant to the Speedy Trial
 5   Act is not required. Assistant U.S. Attorney Samuel Wong has reviewed this stipulation and
 6   proposed order and authorized Michael E. Hingle to sign it on his behalf.
 7
 8   Dated: January 11, 2018                                McGREGOR W. SCOTT
 9                                                          By: /s/ Michael E. Hingle for
10                                                          SAMUEL WONG
                                                            Assistant United States Attorney
11
12   Dated: January 11, 2018                                /s/ Michael E. Hingle
13                                                          Michael E. Hingle
                                                            Attorney for Defendant Secundino
14                                                          Esquibel
15
                                                 ORDER
16
            The Judgment and Sentencing Hearing in this matter is continued to April 19, 2018, at
17
     9:30 AM. The Court adopts the Presentence Report disclosure schedule proposed by the parties.
18
19
            IT IS SO ORDERED
20
     DATED: January 11, 2018
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22                                                          Troy L. Nunley
23                                                          United States District Judge

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     Order Continuing Sentencing Hearing and Modifying PSR Schedule.
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